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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9
     WILLIAM HEATHCOTE, individually and             Case No. 2:20-cv-01310-RSM
10   on behalf of all others similarly situated,
                                                     JOINT STATUS UPDATE AND
11                                      Plaintiff,
                                                     [PROPOSED] ORDER
12          v.

13   SPINX GAMES LIMITED, GRANDE GAMES
     LIMITED, and BEIJING BOLE
14   TECHNOLOGY CO., LTD.,
15
                                      Defendants.
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     JOINT STATUS UPDATE AND [PROPOSED] ORDER; CASE NO. 2:20-CV-01310-RSM
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 1          Plaintiff William Heathcote (“Plaintiff”) and Defendants SpinX Games Limited, Grande
 2   Games Limited, and Beijing Bole Technology Co., Ltd. (“Defendants”) (collectively, the
 3   “Parties”), by and through undersigned counsel, hereby stipulate as follows:
 4          WHEREAS, the original Complaint in this action was filed on September 1, 2020;
 5          WHEREAS, Plaintiff filed a First Amended Complaint on April 9, 2021;
 6          WHEREAS, Defendant’s Answer to Plaintiff’s First Amended Complaint is currently due
 7   on December 7, 2021;
 8          WHEREAS, on September 3, 2021, the Parties informed the Court that this case was to be
 9   mediated on October 20 and October 26, 2021;
10          WHEREAS, the Parties have completed mediation and, as of November 8, 2021, the Parties
11   have executed a binding Term Sheet encompassing all material terms of a Class Action Settlement;
12          WHEREAS, over the next 60 days, the Parties will continue to work towards drafting and
13   executing a long-form Settlement Agreement;
14          WHEREAS, Plaintiff intends on moving for preliminary approval of the Class Action
15   Settlement on January 27, 2022;
16          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and between
17   the Parties to this action, through their undersigned counsel, and subject to the Court’s approval,
18   that (1) all remaining case deadlines shall be vacated so that the Parties may continue to focus their
19   efforts on settlement, and that (2) by January 27, 2022, Plaintiff shall move for preliminary
20   approval or provide the Court with a further Joint Status Update.
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     Dated: December 3, 2021                       Respectfully submitted,
22
                                                   CARSON NOEL PLLC
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                                                   By:   /s/ Wright A. Noel
24                                                           Wright A. Noel

25                                                 Wright A. Noel (State Bar No. 25264)
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       Dated: December 3, 2021               BYRNES KELLER CROMWELL LLP
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 1                                       [PROPOSED] ORDER
 2     PURSUANT TO STIPULATION, IT IS SO ORDERED.
 3

 4     DATED this __ day of December, 2021.
 5

 6
                                                    HONORABLE RICARDO S. MARTINEZ
 7
                                                    UNITED STATES DISTRICT COURT JUDGE
 8   Presented by:
 9
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     JOINT STATUS UPDATE; CASE NO. 2:20-CV-01310-RSM
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